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                                UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JANE DOE,                                                                : Civil Action No. 23-cv-10628 (JGLC)
                                                                         :
                                         Plaintiff,                      :
                                                                         :
                          v.                                             :
                                                                         :
SEAN COMBS; HARVE PIERRE; THE THIRD                                      :
ASSAILANT; DADDY’S HOUSE RECORDINGS, :
INC. and BAD BOY ENTERTAINMENT                                           :
HOLDINGS, INC.,                                                          :
                                                                         :
                                         Defendants.                     :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                 MEMORANDUM OF LAW IN SUPPORT
 OF MOTION TO DISMISS THE COMPLAINT AGAINST DEFENDANTS DADDY’S
 HOUSE RECORDINGS, INC. AND BAD BOY ENTERTAINMENT HOLDINGS, INC.


                                       JONATHAN D. DAVIS, P.C.
                                      1 Rockefeller Plaza, Suite 1712
                                        New York, New York 10020
                                             (212) 687-5464

                                    Law Offices of Bobbi C. Sternheim
                                        225 Broadway, Suite 715
                                      New York, New York 10007
                                             (212) 243-1100

                                                     -and-

                               Kinsella Holley Iser Kump Steinsapir LLP
                                        (admitted pro hac vice)
                                 11766 Wilshire Boulevard, Suite 750
                                    Los Angeles, California 90025
                                            (310) 566-9800


                              Attorneys for Defendants Daddy’s House
                      Recordings, Inc. and Bad Boy Entertainment Holdings, Inc.
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        This memorandum of law is respectfully submitted on behalf of Defendants Daddy’s

House Recordings, Inc. (“Daddy’s House”) and Bad Boy Entertainment Holdings, Inc. (“BBE,”

and together with Daddy’s House, the “Corporate Defendants”) in support of their motion under

Fed. R. Civ. P. 12(b)(6) for an order dismissing the Complaint [Dkt. No. 1] with prejudice.

                                     PRELIMINARY STATEMENT

        Plaintiff alleges a single cause of action against five defendants under New York City’s

Victims of Gender-Motivated Violence Protection Law. N.Y.C. Admin. Code §§ 10-1101 et seq.

(the “VGM”). All Defendants categorically deny Plaintiff’s allegations against them. But, as to the

two Corporate Defendants, as a matter of law, Plaintiff has failed to state a claim upon which relief

can be granted against them. 1

        Plaintiff’s claim fails against the Corporate Defendants for at least three reasons:

        First, in Plaintiff’s attempt to hold the Corporate Defendants liable, Plaintiff relies on

language that was added to the VGM in 2022. Such language, which expanded the VGM’s scope

of liability, is inapplicable to Plaintiff’s claim, which is based on misconduct that allegedly

occurred in 2003. Retroactive application of amendments is presumptively disfavored, and there

is no basis to find that this amendment operates retroactively.

        Second, even if Plaintiff were permitted to rely on the VGM’s amended language, she

nonetheless fails to state a claim upon which relief can be granted against the Corporate

Defendants. Beyond alleging that they “owned” and “operated” a location where a sexual assault

occured, Plaintiff alleges no facts that the Corporate Defendants had any involvement whatsoever

in any alleged misconduct. Such threadbare allegations, as here, do not and cannot form the basis



1
  Defendants Sean Combs and Harve Pierre, along with the Defendant Third Assailant, are collectively referred to as
the “Individual Defendants.”


                                                        1
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of a claim against the Corporate Defendants.

        And third, the alleged misconduct of the Individual Defendants cannot be imputed to the

Corporate Defendants. It is well-settled that sexual assault and related misbehavior are outside the

scope of employment and cannot be imputed to a corporate employer. Further, as to Defendant

Sean Combs (“Mr. Combs”), Plaintiff has not alleged any facts or legal theory that can impute his

alleged behavior to corporate entities he allegedly owns.

                           RELEVANT COMPLAINT ALLEGATIONS

        In broad strokes, the Complaint alleges that, on an unspecified date in the year 2003,

Defendant Harve Pierre (“Mr. Pierre”) and another defendant identified only as the “Third

Assailant” befriended Plaintiff at the bar of an unnamed “lounge” in the greater Detroit area.

Compl. ¶¶ 23-24, [Dkt. No. 1]. 2

        After befriending Plaintiff at the bar, Mr. Pierre allegedly telephoned Mr. Combs, who

invited Plaintiff to meet him that evening in “New York City.” Id. ¶ 26. A “private jet” was

allegedly waiting to transport her there. Id. Plaintiff allegedly agreed to accompany Mr. Pierre and

the unnamed Third Assailant, but before leaving the lounge, Mr. Pierre allegedly smoked crack-

cocaine in front of her and “sexually assault[ed]” her in a bathroom. Id. ¶¶ 28-29.

        Undeterred, Plaintiff willingly traveled with Mr. Pierre and the Third Assailant,

culminating in her arrival at “Daddy’s House Recording Studio” in New York City, where she

allegedly was “pl[ied]” with “copious amounts of drugs and alcohol.” Id. ¶ 36.

        In her allegedly intoxicated state, Plaintiff claims she was sexually assaulted by three men

and abandoned on the bathroom floor until the next day when she was driven in an unidentified



2
 The allegations of the Complaint are entirely contested in the Answers of Mr. Combs and Mr. Pierre, which would
exclude any possibility of misconduct or liability by the Corporate Defendants.


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vehicle, transported to an unidentified airport, and flown back to Michigan on an unidentified

aircraft. Id. ¶¶ 37-46.

        Missing from the Complaint are any substantive allegations concerning the Corporate

Defendants relating to the alleged misconduct:

        The Complaint identifies BBE as a “music, media, and entertainment company founded

and owned by Defendant Sean Combs,” with Mr. Pierre having been made “President” a decade

prior to the alleged incident. Id. ¶¶ 17, 20. It further alleges that BBE “owned and operated Daddy’s

House Recording Studio [sic]” where the New York assaults allegedly occurred. Id. ¶¶ 6, 17, 32,

35. And finally, quoting language from the VGM, the Complaint alleges a legal conclusion that

BBE “enabled Defendants’ commission of the crime of violence motivated by gender[.]” Id. ¶ 56.

No other facts are alleged about BBE. 3 Id. passim.

        The Complaint alleges less about Daddy’s House. Although it mentions Daddy’s House as

a location in several paragraphs, it references Daddy’s House as a business entity only in Paragraph

16 where it is identified as a “music, media, and entertainment company,” which “owned and

operated the Daddy’s House Recording Studio [sic].” Id. ¶ 16. No other facts are alleged about

Daddy’s House. Id. passim.

                                                ARGUMENT

                                        STANDARD OF REVIEW

        Subject to certain limitations, under Fed. R. Civ. P. 12(b)(6), a district court must “accept[]

all of the complaint’s factual allegations as true and draw[] all reasonable inferences in the

plaintiffs’ favor.” Giunta v. Dingman, 893 F.3d 73, 79 (2d Cir. 2018). Dismissal is warranted if


3
  While the Complaint references “unlawful employment practices and intentional and negligent tortious conduct” in
the “Jurisdiction and Venue” section, Compl. ¶ 11, it does not ascribe those purported practices and conduct to any
defendant and provides no details regarding the specific practices or conduct challenged.


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the complaint fails to plead allegations which, if accepted as true, state a plausible claim. Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

       “A claim has ‘facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.’”

Forest Park Pictures v. Universal Television Network, Inc., 683 F.3d 424, 429 (2d Cir. 2012)

(quoting Iqbal, 556 U.S. at 678).

       While a plaintiff is not required to provide “detailed factual allegations,” a complaint must

assert “more than labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Bell Atl. Corp., 550 U.S. at 555; La Pietra v. RREEF Am., L.L.C., 738 F. Supp.

2d 432, 436 (S.D.N.Y. 2010) (stating that “the tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions” (quoting Iqbal, 556 U.S.

at 678)).

                                              POINT I

           THE PROVISIONS OF THE VGM THAT PLAINTIFF RAISES
      FOR CORPORATE LIABILITY ARE WITHOUT RETROACTIVE EFFECT

       Although the VGM was originally passed in 2000, it was amended in 2022 to include

language broadening its scope of liability. Plaintiff relies on this language to hold the Corporate

Defendants subject to a claim, but this would require an impermissible retroactive application of

the amended law. Accordingly, Plaintiff’s claims against the Corporate Defendants must be

dismissed with prejudice.

       Prior to 2022, the VGM provided, in relevant part, “any person claiming to be injured by

an individual who commits a crime of violence motivated by gender … has a cause of action

against such individual … .” See Ex. A at 59-60 (emphasis adjusted); see also Eckhart v. Fox News



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Network, LLC, No. 20-cv-5593 (RA), 2021 WL 4124616, at *25 (S.D.N.Y. Sept. 9, 2021) (quoting

original language).

       The Corporate Defendants cannot be held liable under the original wording of the statute.

The Corporate Defendants may be “parties,” but they are not “individuals” under the plain meaning

of that term. See Mohamad v. Palestinian Auth., 566 U.S. 449, 454-57 (2012) (explaining that the

ordinary meaning of “individual” refers to “a natural person” as opposed to “a corporation,” and

that most statutes adopt this usage except where the legislature indicates otherwise); see also Ray

v. Ray, 22 F.4th 69, 73 (2d Cir. 2021) (statute is construed according to “plain meaning” where

language is unambiguous). Further, Plaintiff does not claim that the Corporate Defendants

“committed” a crime of violence motivated by gender; instead, she alleges only that BBE (but not

Daddy’s House) is liable because it “enabled” the commission of that crime. Compl. ¶ 56

(emphasis added).

       That new language was added in 2022, when the New York City Council (the “Council”)

amended the VGM to change the word “individual” to “party” and to add “directs, enables,

participates in, or conspires in” next to “commits.” The VGM now reads, in relevant part, that

“any person claiming to be injured by a party who commits, directs, enables, participates in, or

conspires in the commission of a crime of violence motivated by gender has a cause of action

against such party … .” N.Y.C. Admin. Code § 10-1104 (emphasis added); see also Ex. B

(identifying amended wording).

       Plaintiff attempts to rely on this amended wording to allege her claim against the Corporate

Defendants. But because this language was not effective until 2022, it is inapplicable to Plaintiff’s

claim. New York courts uniformly recognize a “‘deeply rooted’ presumption against retroactivity

… based on ‘[e]lementary considerations of fairness [that] dictate that individuals should have an


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opportunity to know what the law is and to conform their conduct accordingly.’” Regina Metro.

Co., LLC v. New York State Div. of Hous. & Cmty. Renewal, 35 N.Y.3d 332, 370 (2020) (quoting

Landgraf v. USI Film Prod., 511 U.S. 244, 265 (1994)). “In light of these concerns, ‘[i]t takes a

clear expression of the legislative purpose … to justify a retroactive application’ of a statute.” Id.

(Gleason v. Gleason, 26 N.Y.2d 28, 36 (1970)). Indeed, the New York Court of Appeals has held

that “statutes will not be given such construction unless the language expressly or by necessary

implication requires it.” Gottwald v. Sebert, 40 N.Y.3d 240, 258 (2023) (quoting Majewski v.

Broadalbin-Perth Cent. School Dist., 91 N.Y.2d 577, 584 (1998)).

       Here, there is no express language nor necessary implication requiring retroactive effect.

Louis v. Niederhoffer is instructive. No. 23-cv-6470 (LTS), 2023 WL 8777015, at *1 (S.D.N.Y.

Dec. 19, 2023). There, plaintiff sought to bring a claim under the VGM for misconduct that

occurred in the 1970s. Noting the presumption against retroactivity, the court ruled that nothing

justified affording the VGM retroactive effect. Id. (citing Adams v. Jenkins, Index No. 115745/03,

2005 WL 6584554, at *1 (N.Y. Sup. Ct. Apr. 22, 2005), finding the same).

       Importantly, the Louis court recognized that this presumption was not adversely impacted

by the VGM’s claims-revival provision, which was added in the 2022 amendment. N.Y.C. Admin.

Code § 10-1105 (“any civil claim … that is barred because the applicable period of limitation has

expired is hereby revived and may be commenced not earlier than six months after, and not later

than two years and six months after, September 1, 2022” (emphasis added)). As the court correctly

recognized, this provision does not open the door to claims based on misconduct that occurred

before the statute was passed. Louis, 2023 WL 8777015, at *1.

       In this case, the Corporate Defendants are not exposed to claims based on misconduct that

allegedly occurred before the 2022 amendments took effect. Although the misconduct at issue


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allegedly occurred after the original passage of the VGM, such misconduct occurred almost 20

years before the 2022 amendment. Because a claim against the Corporate Defendants predicated

on the amended statute cannot be “barred because the applicable period of limitation has expired,”

it nonetheless cannot be “revived” by the claims-revival provision. N.Y.C. Admin. Code § 10-

1105. Rather, such a claim did not exist at all, and could only be brought two decades later when

the statute was amended to apply to “parties” instead of “individuals,” and to expand the scope of

unlawful conduct to include “direct[ing], enabl[ing], participat[ing] in, [and] conspir[ing] in”

violation of the VGM. Id. § 10-1104. 4 The Council never directly or indirectly expressed or

implied, either by word or deed, that it intended to expand the liability for violations of the VGM

to misconduct occurring before the amendments were passed – much less decades before them. 5

         For these reasons, the VGM cannot be applied to the Corporate Defendants, and thus the

claim should be dismissed with prejudice.

                                                      POINT II

                  PLAINTIFF’S THREADBARE ALLEGATIONS FAIL TO
                STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

         Even if Plaintiff were permitted to rely upon the amended language of the VGM – and she

is not – her claim would still fail to state a claim against the Corporate Defendants. Plaintiff bases

the VGM claim on the following: (1) BBE and Daddy’s House are alleged to have “owned and



4
 The same concerns regarding the retroactive effect of new statutes apply to amendments. See Regina, 35 N.Y.3d at
349 (considering retroactive effect of amendments to existing law).
5
  Such an expansive application of retroactive liability would be unconstitutional under the Due Process Clauses of
both the U.S. and New York Constitutions, as there is no rational basis for creating a tacit and unspecified retroactivity
period that reaches back decades. Regina, 35 N.Y.3d at 376 (“In determining whether retroactive application of a
statute is supported by a rational basis, the relationship between the length of the retroactivity period and its purpose
is critical.”). This constitutional impediment bolsters denying the retroactivity of the VGM amendments. In re Jamie
J., 30 N.Y.3d 275, 282 (2017) (the “canon of constitutional avoidance” counsels courts to “construe the statute, if
possible, to avoid [a] due process infirmity”).


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operated” the location where sexual assaults were allegedly committed; and (2) BBE allegedly

“enabled” the commission of the alleged sexual assaults. Id. ¶¶ 6, 16, 17, 32, 35, 56. Plaintiff’s

threadbare allegations cannot sustain this purported claim.

       The mere fact that the Corporate Defendants “owned and operated” a location in which

misconduct allegedly occurred, whether true or not, does not make them liable. Cf. Cort v.

Marshall’s Dep’t Store, No. 14-cv-7385 (NGG) (RER), 2015 WL 9582426, at *1, 5 (E.D.N.Y.

Dec. 29, 2015) (mere fact that assault occurred on corporate premises insufficient, without more,

to hold corporation liable). Nor does Plaintiff’s vague and boilerplate allegation equate to a

plausible allegation that the Corporate Defendants “directed,” “enabled,” “participated in,” or

“conspired in” the commission of any misdemeanor or felony against Plaintiff.

       A complaint must provide each defendant “fair notice of what the plaintiff’s claim is and

the ground upon which it rests.” Medina v. Bauer, No. 02-cv-8837 (DC), 2004 WL 136636, at *6

(S.D.N.Y. Jan. 27, 2004) (quoting Ferro v. Ry. Express Agency, Inc., 296 F.2d 847, 851 (2d Cir.

1961)). Consequently, courts will dismiss claims at the pleading stage where the complaint fails

to give the defendant any notice of the misconduct it is alleged to have committed. See, e.g., Ochre

LLC v. Rockwell Architecture Plan. & Design, P.C., No. 12-cv-2837 (KBF), 2012 WL 6082387,

at *6 (S.D.N.Y. Dec. 3, 2012) (dismissing complaint where, inter alia, it failed to allege specific

misconduct undertaken by each defendant and “force[d] the various defendants to guess at the

nature of its claims”), aff’d, 530 F. App’x 19 (2d Cir. 2013); Medina, 2004 WL 136636, at *6

(dismissing complaint against three defendants where it had only one allegation specific to each

defendant and “fail[ed] to give adequate notice to these defendants as to what they did wrong.”).

       Notably, the Complaint alleges no acts or omissions by the Corporate Defendants or their

agents that describe any involvement by them in misconduct that allegedly occurred in connection


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with the alleged incident. 6 Plaintiff’s apparent view is that complicity in a “crime of violence”

should be inferred based on a single boilerplate allegation of “own[ership] and opera[tion].” This

view is untenable and is a radical departure from the well-established pleading standards under

Fed. R. Civ. P. 12. See Bell Atl. Corp., 550 U.S. at 555 (“Factual allegations must be enough to

raise a right to relief above the speculative level … .”); Sands Harbor Marina Corp. v. Wells Fargo

Ins. Servs. of Oregon, Inc., No. 09-cv-3855 (JS) (WDW), 2013 WL 12368698, at *9 (E.D.N.Y.

Feb. 19, 2013) (granting dismissal of RICO claim where there “exist[ed] … a void in the factual

allegations” suggesting corporate involvement, and the court would have to make unwarranted

“inferential leap”), amended on reconsideration in non-rel. part, No. 09-cv-3855 (JS) (WDW),

2013 WL 5295713 (E.D.N.Y. Sept. 18, 2013). 7 Put simply, not a single probative or supporting

allegation can be found in the Complaint that would warrant including the Corporate Defendants

in this claim.

        Similarly futile is Plaintiff’s legal conclusion that BBE “enabled Defendants’ commission

of the crime of violence motivated by gender.” Compl. ¶ 56. It is black-letter law that copying the

language of a statute and planting it in a complaint is insufficient to state a claim. See, e.g., Herman

v. City of New York, No. 15-cv-3059 (JG), 2016 WL 901667, at *2 (E.D.N.Y. Mar. 9, 2016) (“A

complaint cannot escape the charge that it is entirely conclusory in nature merely by quoting …

words from the statutes … .” (quoting Segal v. Gordon, 467 F.2d 602, 608 (2d Cir. 1972))); La

Pietra, 738 F. Supp. 2d at 436 (stating that “the tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions” (quoting Iqbal, 556 U.S.


6
 As discussed in Section III, infra, the alleged misconduct of the Individual Defendants cannot be imputed to the
Corporate Defendants.
7
 The Complaint fails to allege the requisite “animus” against the Corporate Defendants, particularly given that they
cannot be held vicariously liable for the alleged misconduct of the Individual Defendants. See Section III, infra.


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at 678)).

        Accordingly, even under the amended language of the VGM, Plaintiff fails to state a claim

against the Corporate Defendants.

                                              POINT III

             THE ALLEGED MISCONDUCT OF THE INDIVIDUAL
     DEFENDANTS CANNOT BE IMPUTED TO THE CORPORATE DEFENDANTS

        Having failed to state a claim against the Corporate Defendants, Plaintiff also cannot

sustain a claim against them based on a theory of vicarious liability arising from the alleged

misconduct of the Individual Defendants. Aside from the fact that Plaintiff has not alleged

vicarious liability, the Complaint also fails to allege facts that give rise to such liability.

A.      Mr. Pierre and the Third Assailant’s Alleged
        Misconduct Cannot Be Imputed to the Corporate Defendants

        The Complaint fails to show any linkage or tie between the Third Assailant, on the one

hand, and Daddy’s House or BBE, on the other hand. See, e.g., N. Am. Airlines, Inc. v. Virgin Atl.

Airways, Ltd., No. 05-cv-150 (JG), 2006 WL 3782862, at *6 (E.D.N.Y. Dec. 22, 2006)

(“Underlying the doctrine of vicarious liability is the notion of authority or control over the alleged

wrongdoer.” (quoting Hilliard v. Roc-Newark Associates, 287 N.Y.S.2d 421, 692 (2d Dep’t

2001)). The Third Assailant is simply identified as Mr. Pierre’s “friend.” Compl. ¶ 23. There is no

allegation that the Third Assailant was under the “authority or control” of the Corporate

Defendants. Thus, there is no basis to hold the Corporate Defendants vicariously liable for his

alleged misconduct.

        While Mr. Pierre is alleged to be BBE’s “President,” Compl. ¶ 20, as employer, BBE




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cannot be held vicariously liable for Mr. Pierre’s purported misconduct under New York law. 8

While an employer may be liable for the torts of its employees when an employee’s actions fall

within the scope of employment, “it is well-settled in the Second Circuit that employers are not

liable to plaintiffs for sexual assaults under a theory of respondeat superior since sexual

misconduct is necessarily outside the scope of employment.” Doe v. New York City Dep’t of Educ.,

No. 21-cv-4332, 2023 WL 2574741, at *5 (E.D.N.Y. Mar. 20, 2023) (emphasis added); see also,

e.g., Doe v. Solebury Sch., No. 21-cv-06792 (LLS), 2022 WL 1488173, at *3 (S.D.N.Y. May 11,

2022) (dismissing vicarious liability claim against employer related to sexual assaults); Doe v.

Alsaud, 12 F. Supp. 3d 674, 677 (S.D.N.Y. 2014) (dismissing respondeat superior claim against

employer and noting that “[n]o decision in New York has been cited to date in which the doctrine

of respondeat superior was held to apply to sexual assault”).

           Indeed, “where an employee undertook conduct for personal reasons, or had personal

motivations, the employee’s conduct cannot be attributed to his or her employer.” Doe v. Guthrie

Clinic, Ltd., No. 11-cv-6089T, 2012 WL 531026, at *5 (W.D.N.Y. Feb. 17, 2012) (citing cases).

The Second Circuit finds sexual assault and related behavior “arise from personal motives and do

not further an employer’s business.” Swarna v. Al-Awadi, 622 F.3d 123, 144-45 (2d Cir. 2010)

(quoting Ross v. Mitsui Fudosan, Inc., 2 F.Supp.2d 522, 531 (S.D.N.Y. 1998)). Accordingly, it

cannot be a predicate act to impose vicarious liability.

           Here, even if Plaintiff attempted to raise a vicarious liability theory, it would be futile.

Plaintiff’s claim against the Individual Defendants is premised on “sexual assault.” Compl. ¶¶ 53-

55 (identifying the “crime of violence” at issue as “sexual assault”). Such alleged behavior is



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    Mr. Pierre is not alleged to have a relationship with Daddy’s House.



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driven by personal motive and outside the scope of employment. Plaintiff does not allege

otherwise, thus neither Corporate Defendant can be held liable.

B.        Mr. Combs’s Alleged Misconduct Cannot Be Imputed to the Corporate Defendants

          Plaintiff pleads no facts to impute the alleged misconduct of Mr. Combs to the Corporate

Defendants. While Mr. Combs is alleged to be the “owner” of both Corporate Defendants, Compl.

¶¶ 16-17, there is no basis to hold them liable for his alleged actions. In exceptional cases, a

corporate entity may be liable for the acts of its owner under a “reverse piercing theory.” See, e.g.,

Am. Fuel Corp. v. Utah Energy Dev. Co., 122 F.3d 130, 134 (2d Cir. 1997). However, reverse-

piercing is appropriate only where (i) a corporation is “dominated,” such that, for example,

corporate formalities are not observed, and (ii) the “domination was used to commit a fraud or

wrong that injured the party seeking to pierce the veil.” Id.; see also Societe d’Assurance de l’Est

SPRL v. Citigroup Inc., No. 10-cv-4754 (JGK), 2011 WL 4056306, at *5 (S.D.N.Y. Sept. 13,

2011) (“Disregard of the corporate form is warranted only in ‘extraordinary circumstances,’ and

conclusory allegations of dominance and control will not suffice to defeat a motion to dismiss”

(quoting EED Holdings v. Palmer Johnson Acquisition Corp., 228 F.R.D. 508, 511-12 (S.D.N.Y.

2005)).

          Suffice it to say, not only are there no allegations concerning any non-observance of

corporate formalities, there also are no allegations regarding any “dominance and control” over

BBE or Daddy’s House by anyone. No claim has been stated against the Corporate Defendants

and they should be dismissed from the action with prejudice.




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                                        CONCLUSION

       For all the foregoing reasons, the Corporate Defendants respectfully request that the Court

grant an order dismissing the Complaint against the Corporate Defendants with predjudice,

together with such other and further relief as the Court deems just and proper.

Dated: February 20, 2024
       New York, New York

                                                            JONATHAN D. DAVIS, P.C.


                                                     By:    /s/Jonathan D. Davis
                                                            Jonathan D. Davis
                                                            Anthony C. LoMonaco
                                                            1 Rockefeller Plaza, Suite 1712
                                                            New York, New York 10020
                                                            (212) 687-5464
                                                            jdd@jddavispc.com
                                                            acl@jddavispc.com

                                                            Law Offices of Bobbi C. Sternheim
                                                            225 Broadway, Suite 715
                                                            New York, New York 10007
                                                            (212) 243-1100
                                                            bcsternheim@mac.com

                                                                            -and-

                                                            Kinsella Holley Iser Kump
                                                            Steinsapir LLP
                                                            (admitted pro hac vice)
                                                            11766 Wilshire Boulevard, Suite 750
                                                            Los Angeles, California 90025
                                                            (310) 566-9800
                                                            SHolley@khiks.com

                                                            Attorneys for Defendants Daddy’s
                                                            House Recordings, Inc. and Bad Boy
                                                            Entertainment Holdings, Inc.




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